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                     11
                     12                              UNITED STATES DISTRICT COURT
                     13                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                     14
                     15 MELISSA ROBERTSON, an                             Case No. 2:22-cv-00323-RGK-JEM
                        individual,
                     16                                                   STIPULATION TO DISMISS
                                     Plaintiff,                           COMPLAINT WITH PREJUDICE
                     17
                                vs.                                       District Judge: R. Gary Klausner
                     18                                                   Courtroom 850
                        UNIFYED, LLC, an Illinois limited
                     19 liability company; CAMPUSEAI, INC.,
                        an Ohio Corporation; and DOES 1-10                Trial Date:        None Set
                     20 inclusive,
                     21                      Defendants.
                     22
                     23            TO THE COURT, ALL INTERESTED PARTIES, AND THEIR
                     24 ATTORNEYS OF RECORD:
                     25            IT IS HEREBY STIPULATED by and between all parties to this action,
                     26 through their designated counsel, that the original Complaint and all claims
                     27 contained therein, filed by Plaintiff MELISSA ROBERTSON against Defendants

LEWIS                28 UNIFYED, LLC and CAMPUSEAI, INC., and DOES 1-10, be dismissed in their
BRISBOIS
BISGAARD                  4884-7710-5181.1
& SMITH LLP
ATTORNEYS AT LAW                                  STIPULATION TO DISMISS COMPLAINT WITH PREJUDICE
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                May 17




                 May 17
                   Case 2:22-cv-00323-RGK-JEM Document 21 Filed 05/17/22 Page 3 of 3 Page ID #:135




                      1                        FEDERAL COURT PROOF OF SERVICE
                                                Melissa Robertson v. Unifyed, LLC, et al.
                      2                                 Case No. 21STCV37867
                      3 STATE OF CALIFORNIA, COUNTY OF ORANGE
                      4        At the time of service, I was over 18 years of age and not a party to the action.
                        My business address is 650 Town Center Drive, Suite 1400, Costa Mesa, CA 92626.
                      5 I am employed in the office of a member of the bar of this Court at whose direction
                        the service was made.
                      6
                               On May 17, 2022, I served the following document(s): STIPULATION TO
                      7 DISMISS COMPLAINT WITH PREJUDICE
                      8         I served the documents on the following persons at the following addresses
                          (including fax numbers and e-mail addresses, if applicable):
                      9
                        Devon M. Lyon, Esq.                          Attorneys for Plaintiff, MELISSA
                     10 Matthew B. Perez, Esq.                       ROBERTSON
                        Lyon Legal, P.C.
                     11 2698 Junipero Ave., Suite 201A               T: (562) 216-7382
                        Signal Hill, CA 90755                        F: (562) 216-7385
                     12
                                                                     Email: d.lyon@lyon-legal.com
                     13                                                     m.perez@lyon-legal.com
                     14            The documents were served by the following means:
                     15           (BY COURT’S CM/ECF SYSTEM) Pursuant to Local Rule, I electronically
                                   filed the documents with the Clerk of the Court using the CM/ECF system,
                     16            which sent notification of that filing to the persons listed above.
                     17        I declare under penalty of perjury under the laws of the United States of
                          America and the State of California that the foregoing is true and correct.
                     18
                                   Executed on May 17, 2022, at Costa Mesa, California.
                     19
                     20
                                                                           /s/Danielle Morgan
                     21                                              Danielle Morgan
                     22
                     23
                     24
                     25
                     26
                     27

LEWIS                28
BRISBOIS
BISGAARD
& SMITH LLP
                          4884-7710-5181.1                          1
ATTORNEYS AT LAW                              STIPULATION TO DISMISS COMPLAINT WITH PREJUDICE
